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 1                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF INDIANA
 2                                  HAMMOND DIVISION
 3                              CASE NO. 2:17-cv-33-JPK
 4          JOHN DOE,                                    )
                                                         )
 5                    Plaintiff,                         )
                                                         )
  6                   -vs-                               )
                                                         )
 7          PURDUE UNIVERSITY, PURDUE                    )
            UNIVERSITY BOARD OF TRUSTEES,                )
  8         MITCHELL ELIAS DANIELS, JR.,                 )
            in his official capacity as                  )
  9         President of Purdue                          )
            University, ALYSA CHRISTMAS                  )
10          ROLLOCK, in her official                     )
            capacity at Purdue University,           )
11          KATHERINE SERMERSHEIM, in her            )
            official capacity at Purdue                  )
12          University,                                  )
                                                         )
13                    Defendants.
14
15                           DEPOSITION OF JACOB AMBERGER
16
17            The ZOOM deposition upon oral examination of JACOB
         AMBERGER, a witness produced and sworn before me,
18       Clarice H. Howard, CCR-Ky, Notary Public in and for the
         County of Boone, State of Indiana, taken on behalf of
19       the Plaintiff, on Tuesday, August 25, 2020, scheduled
         to commence at 8:00 a.m., pursuant to the Federal Rules
20       of Civil Procedure with written notice as to time and
         place thereof.
21
22
23
24
25

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      1           APPEARANCES                                                 1 (Time noted 8:00 a.m.)
      2
      3     FOR THE PLAINTIFF:                                                2        THE REPORTER: The attorneys participating in
      4       Philip A. Byler                                                 3     this deposition acknowledge that I am not
              NESENOFF & MILTENBERG LLP                                       4     physically present in the deposition room with the
      5       363 Seventh Avenue
                                                                              5     witness and that I will be reporting this
              Fifth Floor
      6       New York, New York 10001                                        6     deposition remotely. They further acknowledge
              1.212. 736.4500                                                 7     that, in lieu of an oath administered in person,
      7       pbyler@nmllplaw.com
                                                                              8     the witness will verbally declare his testimony in
      8
            FOR THE DEFENDANTS:                                               9     this matter is under penalty of perjury.
      9                                                                      10        The parties and their counsel consent to this
               Tyler L. Jones
                                                                             11     arrangement and waive any objection to the manner
               STUART & BRANIGIN, LLP
               300 Main Street                                               12     of reporting. Please indicate your agreement by
     11        Suite 900.                                                    13     stating your name and your agreement on the record.
               Lafayette, Indiana 47902-1010
                                                                             14       MR. BYLER: Philip Byler, for plaintiff, I
     12        1.765.423.1561
               tlj@stuartlaw.com.                                            15     agree.
     13                                                                      16       MR. JONES: Tyler L. Jones for the defendants,
     14
                                                                             17     I agree.
     15
     16                                                                      18
     17                                                                      19
     18                                                                      20
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     24                                                                      24
     25                                                                      25

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          INDEX OF EXAMINATION                                                                 JACOB AMBERGER,
                        PAGE                                                  2 having been duly sworn to tell the truth, the whole
      2                                                                       3 truth, and nothing but the truth relating to said
          DIRECT EXAMINATION
                                                                              4 matter, was examined and testified as follows:
      3   Questions by Mr. Byler.......................... 4
                                                                              5
      4
      5        INDEX OF EXHIBITS                                              6 DIRECT EXAMINATION
      6                                                                       7   QUESTIONS BY MR. BYLER:
          Deposition Exhibits:                                                8 Q Could you state your name for the record, please?
      7                                                                       9 A    Jacob Lee Amberger.
      8   Exhibit 10 - Notice of investigation............ 12                10 Q    Could you give me your business address?
      9   Exhibit 11 - -    reply to notice ............... 15               11 A    Business address is 155 South Grant Street, Tenth
     10   Exhibit 14 - Investigators' report .............. 49
                                                                             12  Floor, West Lafayette, Indiana, 47907.
     11   Exhibit 19 - E-mail to Bloom from Amberger...... 46
                                                                             13 Q Okay. My name is Phil Byler or Philip Byler. I'm
     12   Exhibit 20 - E-mail response from Bloom ......... 46
     13   Exhibit 21 - E-mail from Bloom to Amberger...... 46                14     counsel for plaintiff, John Doe, in a proceeding
     14   Exhibit 22 - E-mail response from Amberger...... 46                15     entitled John Doe versus Purdue University and
     15   Exhibit 24 - Handwritten notes of Amberger...... 17                16     others.
     16   Exhibit 25 - Handwritten notes of Oliver........ 17                17       It is proceeding with use of pseudonyms by
     17   Exhibit 26 - E-mail from Amberger to -              ....... 33     18     court order. John Doe is               . Jane Doe
     18   Exhibit 27 - Text messages supplied by •..... 33                   19     is                 You may in this deposition --
     19   Exhibit 28 - E-mail from Amberger to witnesses .. 45
                                                                             20     don't worry if you slip up and use one or the
     20   Exhibit 29 - E-mail from Joanna Sharp........... 96
                                                                             21     other, because the deposition at present is being
     21   Exhibit 30 - E-mail with final determination .... 100
     22   Exhibit 31 - Revised determination .............. 100              22     held subjective to a protective order.
     23                                                                      23       Let me begin by asking you, have you been
     24                                                                      24     deposed before?
     25                                                                      25 A    Yes, I have.

                                                                                                                             2 (Pages 2 - 5)
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